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Case 4:19-cv-00216-O Document 1 Filed 03/14/19 PdgedPRT TS ae I OF TEXAS

 

PRISONER’S CIVIL RIGHTS COMPLAINT (Rev. 05/2015)

| MAR 1 4 2019
IN THE UNITED STATES DISTRICT CQURT

FOR THE NORTHERN DISTRICT OF THXAS
CLERK, U.S. DISTRICT COURT

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Plaintiff's Name and ID Number
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INSTRUCTIONS - READ CAREFULLY / [
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep a
copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE, ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

 

 

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4, When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as “WENUE LIST” is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.

 
 

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FILING FEE AND IN FORMA PAUPERIS (IFP)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00.

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ -CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also knownas in forma pauperis
data sheet, from the law library at your prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides “... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.” See 28 U.S.C.
§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate, assess
and collect the entire filing fee or an initial partial filing fee, then monthly installments from your inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. Ifyou intend to seek in forma pauperis status, do not send your complaint without an application to proceed in
forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting it
to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any
other relief. Failure to filea NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

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A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? 4” YES

B. If your answer to “A” is “yes,” describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

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1. Approximate date of filing lawsuit: LC [ D

 

2. Parties to previous lawsuit:

Plaintiff(s) S Ae Ak [ eh

Defendant(s) Le LOM. Se C. S ‘ Cel Co ol, (nn

Court: (If federal, name the district; if state, name the county. )£ 4. “i/ & eth DA f LD i 3 Ll f
cause number LEX LS QOU3 vs Dy sp KEMES

Name of judge to whom case was assigned: Mb ep 5

Disposition: (Was the case dismissed, appealed, still pending?) J vd wtertlor S Abe rf La
Approximate date of disposition: oh 0) LS |

 

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Il. | EXHAUSTION OF GRIEVANCE PROCEDURES:

Have you exhausted all steps of the institutional grievance procedure? x YES __NO

Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

IV. PARTIES TO THIS SUIT:

A. Name and address of plaintiff: Kote [Lf Lar ad S- the rhe ad ULES
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B. Fullname of each defendant, his official position, his place of employment, and his full mailing address.

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V. STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. You need not give
any legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number
and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY
STRIKE YOUR COMPLAINT.

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A. State, in complete form, all names you have ever used or been known by including any and all aliases.

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B. List all TDCJ-CID identification numbers you have ever been assigned and all other state or federal
prison or FBI numbers ever assigned to you.

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VI. sanction SOCE 7,

A. Have you been sanctioned by any court as a result of any lawsuit you have filed? X YES NO

 

B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

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1. Court that imposed sanctions (if federal, give the district and division): Et £ 4. A. L Ye ; /
2. Case number: Vu CLC Ces f ti £m Kez L 1 apres Ly
3. Approximate date sanctions were imposed: [ q CGD -/eE8 Gd ra
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. Have the sanctions been “Sey or Vik ces" COL YES X_NO

 
 

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